






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN





NO. 03-05-00588-CR





Raul Ramirez, Jr. a/k/a Rudolfo Torrez, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT


NO. 03-727-K277, HONORABLE KEN ANDERSON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N




Raul Ramirez seeks to appeal from a judgment of conviction for possession of a
controlled substance.  Sentence was imposed on August 9, 2004.  The pro se notice of appeal was
filed on September 1, 2005, long after the time for perfecting appeal expired.  See Tex. Pen. Code
Ann. 26.2(a).  Under the circumstances, we lack jurisdiction to dispose of the purported appeal in
any manner other than by dismissing it for want of jurisdiction.  See Slaton v. State, 981 S.W.2d 208
(Tex. Crim. App.1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996).

The appeal is dismissed.


				__________________________________________

				Bob Pemberton, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   October 5, 2005

Do Not Publish


